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   IT IS ORDERED as set forth below:



   Date: January 11, 2021
                                          _____________________________________
                                                     Wendy L. Hagenau
                                                U.S. Bankruptcy Court Judge

_______________________________________________________________


                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                        :          CASE NO. 18-62370-WLH
                                              :
CONNIE SANDERS,                               :          CHAPTER       7
                                              :
         Debtor.                              :

ORDER APPROVING SETTLEMENT UNDER RULE 9019 OF THE FEDERAL RULES
                   OF BANKRUPTCY PROCEDURE

         On December 11, 2020, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the

bankruptcy estate (the “Bankruptcy Estate”) of Connie Sanders (“Debtor”), filed his Motion

for Order Authorizing Settlement under Rule 9019 of the Federal Rules of Bankruptcy Procedure

[Doc. No. 68] (the “Motion”), seeking an order approving a settlement agreement (the

“Settlement Agreement”) between Trustee, Debtor, Deene J. Sanders (“Mr. Sanders”); S&S

Commercial Contractors, Inc. (“S&S); 21st Century Enterprises, Inc. (“21st Century”); CD

Sanders Enterprises, Ltd. (“CD Sanders”); Sanders Enterprises Inc. (“Sanders Inc.” and with

Mr. Sanders, Debtor, S&S, 21st Century, and CD Sanders, the “Sanders Parties”); King III

SBW, LLC (“King III”); Mighty Oak Group, LLC (“Mighty Oak”); KMMP Homes, LLC

(“KMMP”); William Brannen, Jr. (“Mr. Brannen”); and Kathy Pecora (“Ms. Pecora” and with


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King III, Mighty Oak, KMMP, and Mr. Brannen, the “Cobb County Parties”; and with Trustee,

Mr. Sanders, Debtor, S&S, 21st Century, CD Sanders, Sanders Inc., King III, Mighty Oak,

KMMP, and Mr. Brannen, the “Parties”), to certain Disputes1 regarding $450,000.00 that is in

the registry of the Superior Court of Cobb County, State of Georgia related to certain lawsuit

pending in that court (Civil Action File No. 15-1-1531) (the “Cobb County Lawsuit”) and the

avoidability of a certain Assignment by S&S to CD Sanders. More particularly, under the terms

of the Settlement Agreement, inter alia,2 after the Settlement Approval Order becomes final, Mr.

Sanders shall pay a total of $24,500.00 (the “$24,500.00 Settlement Funds”) in good funds to

Trustee. In addition, within ten (10) business days of the Settlement Approval Order becoming a

final order, Trustee, Mr. Sanders, S&S, Mr. Brannen, King III, Mighty Oak, and any other Party

deemed necessary, shall file a motion in the Cobb County Lawsuit, requesting that the Superior

Court of Cobb County enter an order directing the Clerk of Court for the Superior Court of Cobb

County to distribute the Registry Funds, as follows: (a) $25,500.00 of the Registry Funds shall be

paid to Trustee for the benefit of the Bankruptcy Estate (the “$25,500.00 Registry Funds”) (for

the avoidance of doubt, the Parties stipulate and agree that the $25,500.00 Registry Funds shall

be free and clear of any liens, claims, or interests, including any exemption asserted by or on

behalf of Debtor, and be available for Trustee to distribute in accordance with the Bankruptcy

Code); and (b) the Remaining Registry Funds, in the approximate amount of $424,500.00, shall

be paid to Mighty Oak, King III, Mr. Brannen, and Ms. Pecora to be divided as Mighty Oak,



1
      Capitalized terms not defined in this Order shall have the meanings ascribed to them in
the Motion.
2
       The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the Settlement Agreement controls.


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King III, Mr. Brannen, and Ms. Pecora deem appropriate. Finally, the Parties grant broad and

general releases to one another; provided, however, that neither the Bankruptcy Estate nor

Trustee is providing Debtor a release. The complete terms of the Settlement Agreement are set

forth in Exhibit “A” to the Motion.

        Also on December 11, 2020, Trustee filed Notice of Pleading, Deadline to Object, and

for Hearing [Doc. No. 69] (the “Notice”) regarding the Motion, in accordance with General

Order No. 24-2018. Counsel for Trustee certifies that he served the Notice on all requisite

parties in interest on December 11, 2020. [Doc. No. 70].

        The Notice provided notice of the opportunity to object and for hearing pursuant to the

procedures in General Order No. 24-2018. No objection to the Motion was filed prior to the

objection deadline provided in the Notice.

        The Court having considered the Motion and all other matters of record, including the

lack of objection to the relief requested in the Motion, and, based on the forgoing, finding that no

further notice or hearing is necessary; and, the Court having found that good cause exists to grant

the relief requested in the Motion, it is hereby

        ORDERED that the Motion is GRANTED: the Settlement Agreement is approved and

its terms are incorporated herein. It is further

        ORDERED that the Parties may take any other actions necessary to effectuate the terms

of the Settlement Agreement. It is further

        ORDERED that this Court retains jurisdiction to (i) interpret, implement, and enforce

this Order, (ii) resolve any disputes regarding or concerning the Settlement Agreement, and (iii)




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enter such other and further orders as may be necessary, just, or proper as an aid to enforcement

or implementation of this Order.

                                    [END OF DOCUMENT]

Order prepared and presented by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Trustee

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Identification of entities to be served:

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